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                    IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 CONRAD SMITH, et al,

                 Plaintiffs,
                                                     CIVIL CASE NO.: 1:21-cv-02265-APM
          v.
                                                       ORDER ON MOTION FOR SUMMARY
 DONALD J. TRUMP, et al.,                                       JUDGMENT

                 Defendants,


         On this ____________ day of ____________, 2023, the motion of Zachary Rehl for

summary judgment in this matter was duly heard. The Court has considered the papers

submitted in favor of and opposed to the motion, has reviewed the authorities cited by the

parties, has reviewed the record in the case submitted and cited by the parties, and has considered

the arguments of counsel. Being so informed, the court is of the opinion that there is not genuine

dispute at to any material fact in this matter and that Zachary Rehl is entitled, as a matter of law,

to the judgment requested in this motion. Therefore,

         IT IS ORDERED that:

   1. The Motion for Summary Judgment is GRANTED;

   2. The Clerk of this Court will enter judgment in favor of Zachary Rehl, dismissing this

         action in its entirety, with prejudice, and awarding Zachary Rehl his costs of suit;

   3. All relief not expressly granted is denied.




Dated:                                         ____________________________________
                                               Hon. Amit P. Mehta
                                               United States District Judge
